
72 U.S. 825 (____)
5 Wall. 825
EX PARTE THE MILWAUKEE RAILROAD COMPANY.
Supreme Court of United States.

*826 Mr. Carpenter, in support of the petition for a mandamus, and Messrs. Ryan &amp; Cary, contra, argued the matter at much length, December 14th, 1866.
Mr. Justice MILLER now, May 16th, 1867, delivered the opinion of the court.
This case was argued very fully in the early part of the term, but a decision has been reserved, in the hope that the action of this court might become unnecessary.
*827 The litigation between these parties has consumed such a large proportion of the time of this court, and the close of the term is so near at hand, with the pressure of matters of more importance upon us, that we cannot enter into a statement of the reasoning which governs our action in the present motion. It is sufficient to say that we are satisfied that the petitioner has presented a case calling for the exercise of the supervisory power of this court over the Circuit Court, which can only be made effectual by a writ of mandamus. A writ of mandamus will therefore issue from this court, directed to the judges of the Circuit Court of the United States for the District of Wisconsin, commanding them to proceed with the execution of the order of that court of July 18, 1865.
